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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF LOUISIANA
                               MONROE DIVISION

   STATE OF MISSOURI, STATE OF
   LOUISIANA, et al.,

                   Plaintiffs,

      v.                                              Case No. 3:22-cv-01213-TAD

   JOSEPH R. BIDEN, JR., in his official
   capacity as President of the United States,
   et al.,

                   Defendants.


              SECOND SUPPLEMENTAL DECLARATION OF JIM HOFT

       1.      My name is Jim Hoft. I am over the age of 18 years and competent to testify to the

matters expressed herein.

       2.      I have previously submitted two Declarations in this case, filed with the Court as

Doc. 10-5 (45-5) and Doc. 227-8. Those prior Declarations are incorporated by reference herein.

       3.      My previous two Declarations detailed some examples of injury I have experienced

due to censorship of speech, both from censorship of my own speech, the speech of others with

which I would otherwise have been able to engage, and the self-censorship of readers of my blog,

The Gateway Pundit, for fear of retaliation from social media companies. They even detail self-

censorship I have felt compelled to do to avoid further harm.

       4.      As described in my previous Declarations, my online publication, The Gateway

Pundit, is a news and opinion blog seen by readers millions of times every day. The Gateway

Pundit is my sole means of earning a living. Social media platforms can be a very important means

of gaining exposure to Gateway Pundit articles and engaging in public debate. However, Gateway


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Pundit has been the victim of a federal-private organized and targeted censorship campaign that

has lasted several years, and this campaign has regularly interfered with and interrupted my ability

to communicate with my readers.

       5.      The harms I experience due to censorship of speech on social media are ongoing.

       6.      For example, to avoid being permanently banned by Facebook and other platforms,

I have self-censored the Gateway Pundit articles that are posted there. Rather than freely posting

my site’s content on these platforms, to this day I have and continue to deliberately withhold

content – particularly on matters relating to COVID-19, vaccination for the same, and the 2020

election. I continue to do this out of fear of reprisals from social media. In fact, Facebook

continuously warns me and Gateway Pundit that we should be careful to toe their narrative line or

else we will be permanently banned. See screenshots below, taken May 19, 2023.




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       7.      And not only have I withheld content, I have deliberately reduced and continue to

reduce the volume of overall content posted to social media for the very same reasons.

       8.      As seen from the screenshots above, Facebook and other social media sites are

reducing the visibility of Gateway Pundit’s Facebook posts, reducing distribution, and imposing

other restrictions as well, on an ongoing basis.

       9.      As only one example, Facebook restricts Gateway Pundit’s ability to monetize its

posts, restricts its ability to tag partners in posts, and restricts content due to “false news”

allegations.




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       10.     The past reprisals have included downgrading the visibility of my posts in

Facebook’s News Feed (thereby limiting its reach to other users), downgrading the visibility of

my posts in my Facebook Groups, temporary banning, permanent banning (in the case of Twitter),

flagging, and a wide variety of other forms of censorship.

       11.     Despite my efforts at self-censorship, Gateway Pundit is also besieged by malicious

government-funded propaganda outfits that style themselves “fact-checkers.” As one recent

example, Gateway Pundit published an article detailing the federal government provisioning

thousands    of   illegal   immigrants     with    taxpayer-funded    smart    phones.        See

https://www.thegatewaypundit.com/2023/05/member-trusted-news-initiative-currently-being-


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sued-collusively/?utm_source=rss&utm_medium=rss&utm_campaign=member-trusted-news-

initiative-currently-being-sued-collusively. The article was “fact-checked” by Agence France

Presse Fact Check (AFP). Despite AFP learning that what we reported was true – illegal

immigrants were, in fact, gifted smart phones bought and continually paid for by the federal

government – AFP still reported that our article was false.

       12.     I also know from communications with readers that there are many readers who

refuse to post Gateway Pundit articles to their social media accounts out of fear of social media

reprisals. The readers self-censor because either they or their family members or friends have been

previously banned or shadow-banned, or otherwise attacked and censored by social media

companies after posting articles which were against the federal government’s preferred narrative.

       13.     As a further example of ongoing social media censorship, Facebook continues to

attach a defamatory smear against Gateway Pundit to each and every Gateway Pundit Facebook

post. The most recent example is from May 17, 2023; see below:




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       14.    All of these examples censored speech pertain to speech of public interest. This

censorship interrupts the ability of The Gateway Pundit to reach its readers. It is not only

demoralizing, but it prevents me – and my readers – from engaging in public debate on public

issues, and it erodes the democratic process. When the government limits the range of thought

and permitted viewpoints, one cannot say they live in a functioning republic, and cannot honestly

say they possess freedom.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.




 Executed On: May 19, 2023                       /s/ Jim Hoft

                                                 Jim Hoft




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